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        ORDERED in the Southern District of Florida on March 22, 2019.




                                                            Raymond B. Ray, Judge
                                                            United States Bankruptcy Court
_____________________________________________________________________________




                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION
                                        www.flsb.uscourts.gov


        In Re:                                                  CASE NO.: 18-24646-RBR
                                                                Chapter 7
        Michael A Pagano,

                    Debtor.
        ______________________________/

        ORDER AUTHORIZING EMPLOYMENT OF REAL ESTATE BROKER AND AGENT
                       NUNC PRO TUNC TO FEBRUARY 18, 2019

                 THIS MATTER came on to be heard on March 20, 2019, in Fort Lauderdale, Florida,

        pursuant to the Trustee’s Application to Employ Realtor Ashley Franchini of Soleil Sothebys

        International Realty pursuant to Local Rule 9013-1(C)(4) and 11 U.S.C. § 327 [DE#31]. The


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Court, having reviewed the Application, having reviewed the Listing Agreement, having

reviewed the Affidavit of Disinterestedness and it appearing that Ashley Franchini of Soleil

Sothebys International Realty, is a licensed real estate agent, holds no interest adverse to the

estate, and is a disinterested party as required by 11 U.S.C. §327(a), and having determined that

the employment of a real estate broker and agent is necessary and in the best interest of the

estate, does

       ORDER AND ADJUDGE:

       1.      The Trustee is authorized to employ Ashley Franchini of Soleil Sothebys

International Realty, as a real estate broker and agent of the estate for the purpose of marketing

and selling the real property located at:

                        31 Seaside Court, Margate, New Jersey 08402
                 Lot 77, Block 610.01 on the Tax Map of the City of Margate

       2.      The employment is effective as of February 18, 2019 and shall terminate on

September 30, 2019 unless extended by further Order of the Court.

       3.      Compensation to Ashley Franchini of Soleil Sothebys International Realty shall

be paid and expenses reimbursed as awarded by the Court upon proper application or in

conjunction with an Order entered by the Court approving the sale of the real property at issue.

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Submitted by:
Chad S. Paiva, Trustee
525 Okeechobee Blvd., Suite 900
West Palm Beach FL 33401
(561) 227-2370
trustee@gmlaw.com

Chad S. Paiva, Esq. is directed to serve copies of this Order on all interested parties listed
and file a certificate of service.




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Electronic Mail Notice List


      Kenia L Molina kmolina@flwlaw.com, kenia@keniamolina.com
      Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov

Via Regular Mail:

Michael A Pagano, Debtor
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Patrick Butler
BK Global Real Estate Services
1095 Broken Sound Parkway, N.W.
Suite 100
Boca Raton, FL 33487

Ashley Franchini, Realtor
Soleil Sotheby's International Realty
8502 Ventnor Avenue
Margate City, FL 08402




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